                              UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )       NO. 3:09-00240
                                                      )       JUDGE CAMPBELL
FAITH READUS                                          )

                                              ORDER

       Both parties have filed proposed jury instructions. (Docket Nos. 2278, 2279). By Order

entered January 24, 2013 (Docket No. 1762), the parties were directed to file proposed jury

instructions “with citations to supporting authorities.” Neither of the proposed instructions filed by

the parties have cited supporting authorities, such as pattern instructions or case law.

       On or before June 14, 2013, the parties shall file such supporting authorities for all jury

instructions.

       It is so ORDERED.

                                                      ____________________________________
                                                      TODD J. CAMPBELL
                                                      UNITED STATES DISTRICT JUDGE




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